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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK



                                                        Case No. 1:03-md-01570-GBD-SN
 In re TERRORIST ATTACKS ON
 SEPTEMBER 11, 2001                                     Hon. George B. Daniels
                                                        Hon. Sarah Netburn


 This document relates to: All Actions



                                   [PROPOSED] ORDER

       Matthew S. Leddicotte’s motion to withdraw as counsel for Al Rajhi Bank is GRANTED.

The Clerk of the Court is respectfully directed to remove Matthew S. Leddicotte from the docket

as counsel for Al Rajhi Bank.

       SO ORDERED.

April __, 2023                                     ____________________________________
New York, New York                                 SARAH NETBURN
                                                   United States Magistrate Judge
